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                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                     BECKLEY DIVISION


CRUSO R. WALLACE,

                              Petitioner,

v.                                                   CIVIL ACTION NO. 5:04-cv-00732
                                                     (Criminal No. 5:02-cr-00101)

UNITED STATES OF AMERICA,

                              Respondent.


                         MEMORANDUM OPINION AND ORDER



       Pending are Petitioner Cruso R. Wallace’s Motion to Reconsider the District Court’s Order

of July 5, 2007 Denying Petitioner’s Motion to Reconsider the Denial of His Original 2255 Motion

Pursuant to Rule 59(e) of the Federal Rules of Civil Procedure [Docket 255] and Motion for Leave

to Amend to Relate Back to Petitioner’s Original § 2255 Pursuant to Federal Rule of Civil Procedure

15(c)(2) [Docket 256]. For the reasons stated below, these motions are DENIED.

       Petitioner’s motions are found in a rather unusual procedural posture—after judgment and

appeal. Petitioner filed a petition pursuant to 28 U.S.C. § 2255 on June 19, 2004 and a supplemental

amendment on April 14, 2005. This Court entered a Judgment Order dismissing the § 2255 petition

on June 18, 2007, and denied a subsequent motion to reconsider on July 6, 2007. On July 16, 2007,

Petitioner filed a notice of appeal of the Judgment Order and of the Order denying his motion to

reconsider. On the same date Petitioner filed a second motion to reconsider, which is presently

pending. His motion to amend the original petition, which is also pending, was filed shortly after
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the notice of appeal. The Court of Appeals for the Fourth Circuit dismissed Petitioner’s appeal on

February 25, 2008.

       Petitioner’s first motion asks the Court to reconsider its Memorandum Opinion and Order

of July 5, 2007, in which the Court denied a prior motion to reconsider. The prior motion to

reconsider was addressed in an unpublished Court of Appeals opinion dated February 21, 2008. The

Court of Appeals found that Petitioner had not demonstrated that “any assessment of the

constitutional claims by the district court is debatable or wrong [or] that any dispositive procedural

ruling by the district court is likewise debatable.” (Docket 283 at 2.)

       The Court of Appeals’ standard of review on appeal, (see id.), is broader than this Court’s

standard of review on the motion to reconsider, see Hutchinson v. Staton, 994 F.2d 1076, 1081 (4th

Cir. 1993). A motion to reconsider may be granted for any of three reasons: “(1) to accommodate

an intervening change in controlling law; (2) to account for new evidence not available at trial; or

(3) to correct a clear error of law or prevent manifest injustice.” Id. at 1081. Petitioner does not

argue that there has been a change in controlling law or that new evidence is available. The Court

of Appeals’ finding that neither this Court’s procedural rulings, nor its assessment of Petitioner’s

constitutional claims, are debatable obviates the need to conduct the more focused analysis of

determining whether this Court’s ruling was clear error or resulted in manifest injustice.

Accordingly, Petitioner’s motion to reconsider [Docket 255] is DENIED.

       Petitioner’s second motion seeks leave to amend his original § 2255 petition under Fed. R.

Civ. P. 15(c). However, the procedural posture of this action—i.e. after judgment—dictates the

disposition of the motion. This Court’s discretion to permit a Rule 15 amendment “narrows

considerably after entry of judgment.” Vielma v. Eureka Co., 218 F.3d 458, 468 (5th Cir. 2000).


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A post-judgment motion to amend may be granted only if the judgment has been vacated. See Laber

v. Harvey, 438 F.3d 404, 427 (4th Cir. 2006); cf. United States v. Graham, 81 Fed. Appx. 472, 473

(4th Cir. 2003) (unpublished disposition) (construing a § 2255 petitioner’s post-judgment motion

to amend as a second or successive petition). The Judgment Order in this action has not been

vacated by this Court or by the Court of Appeals. Thus, Petitioner’s motion to amend [Docket 256]

is DENIED.

       IT IS SO ORDERED.

       The court DIRECTS the Clerk to send a copy of this Order to counsel of record and any

unrepresented party.

                                            ENTER:         November 3, 2008




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